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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
VS.                                            §     CRIMINAL NO. H-06-52-7
                                               §
                                               §
FIDENCIO GALLEGOS                              §

                                          ORDER

        Defendant Gallegos filed an unopposed motion to continue the sentencing hearing (Docket

Entry No. 908). The motion for continuance is GRANTED. The sentencing hearing is reset to

September 21, 2010, at 9:00 a.m.


              SIGNED on June 14, 2010, at Houston, Texas.

                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
